 8:06-cr-00312-JFB-FG3           Doc # 45   Filed: 10/20/06   Page 1 of 1 - Page ID # 66




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )
                                              )
             vs.                              )                8:06CR312
                                              )
MARIO AYALA-REYNA,                            )                 ORDER
                                              )
                    Defendant.                )




      IT IS ORDERED that the following is set for hearing on October 26, 2006 at
2:00 p.m. before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor,
Roman L. Hruska U.S. Courthouse, 111 So. 18 th Plaza, Omaha, Nebraska:

      Arraignment on Superseding Indictment

      Since this is a criminal case, the defendants must be present, unless excused by
the Court. An interpreter will be provided by the court.

      DATED this 20th day of October, 2006.

                                            BY THE COURT:


                                            s/ F.A. Gossett
                                            United States Magistrate Judge
